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Radu Kramer, MD
201-967-0800
https://comprehensivehealingmd.com

July 8, 2024

Re: Mrs. Shari Criso

DOB: 01/11/1969

To Whom It May Concern:

I am writing on behalf of my patient, Mrs. Shari Criso, who is under my care for her medical condition. At
this time, air travel is contraindicated and poses a substantial risk to the patient.

Consequently, Mrs. Shari Criso should avoid flying until medically cleared. We hope she can find alternative
arrangements, such as video conferencing, if available, to enable her to participate in important
meetings, while avoiding air travel.

Sincerely,

800 Kinderkamack Rd, Ste 205N, Oradell, NJ 07649
POX! (201) 942-0492
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Night and Day Medical
427 Fort Washinaton Avenue
New York NY 100337034
232-740-4600

NAME: Shart Criso DOB: 01/11/1969
ADDRESS: 25 Westbury Drive Sparta, NI O7871
DATE: 05/28/2024

This is to certify that Ms Criso was seen today for an evaluation. Ms Criso is
diagnosed with a chronic medical condition which produces chronic pain and
decreased mobility. This makes it difficult for her to travel via airplane as it may

aggravate her pain and swelling of her extremities.

PHYSICIAN SIGNATURE: CO (apace

Cluny Lefevrk DO
NY License # 205008

